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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MASSACHUSETTS


O. DOE, et al.

                                          Plaintiffs,
  v.                                                    Case No.: 1:25-cv-10135-LTS

DONALD J. TRUMP, In his official capacity as            Leave Granted 02/05/25
President of the United States, et al.,
                                                        Honorable Leo T. Sorokin
                                         Defendant.



 AMICUS CURIAE BRIEF OF FORMER UNITED STATES ATTORNEY GENERAL
     EDWIN MEESE III IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
                     PRELIMINARY INJUNCTION



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                                       INTERESTS OF AMICUS CURIAE1

               The Honorable Edwin Meese III, former Attorney General of the United States, submits

       this amicus curiae brief in support of Executive Order 14160, “Protecting the Meaning and Value

       of American Citizenship.” His experience in shaping and interpreting federal law as the 75th

       Attorney General of the United States provides him with a unique perspective on the legal and

       historical foundations of American citizenship.

               His extensive work in the Department of Justice and his contributions to constitutional

       discourse underscore his commitment to ensuring that laws are faithfully applied in accordance

       with their historical meaning.

               Attorney General Meese has been actively involved in legal and policy discussions

       concerning immigration, national security, and the constitutional structure of government. His

       scholarship and public service have emphasized the importance of maintaining the constitutional

       balance of powers, ensuring that executive authority is exercised within its proper scope, and

       upholding the nation’s sovereignty. In submitting this amicus brief, Attorney General Meese

       aims to provide the Court with a perspective grounded in legal history, constitutional

       originalism, and the principles of self-governance.

                                           SUMMARY OF ARGUMENT

               Executive Order 14160 correctly implements the original meaning of the Fourteenth

       Amendment’s Citizenship Clause. The text and legislative history of the Fourteenth Amendment

       demonstrate that birthright citizenship was intended to apply only to individuals who are fully



1 Amicus curiae notified counsel of record for all of the parties of its intention to file an amicus brief. No

counsel for a party authored this brief in whole or in part, nor did any person or entity, other than amicus
curiae and its counsel, make a monetary contribution intended to fund the preparation or submission of this
brief.
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subject to the political jurisdiction of the United States. This excludes children born to parents

who are neither citizens nor lawful permanent residents. The Supreme Court’s precedents

support this interpretation. The government’s prior policies reflecting a broader interpretation of

birthright citizenship, even if longstanding and commonly accepted, are inconsistent with the

Constitution’s text and original meaning. Upholding the Executive Order would reinforce the

importance of American citizenship and prevent further erosion of the political and legal

principles enshrined in the Fourteenth Amendment.

                                           ARGUMENT

   I.      The Executive Order Adheres to the Original Meaning of the Citizenship Clause
           of the Fourteenth Amendment.

        The Citizenship Clause of the Fourteenth Amendment states: “All persons born…in the

United States, and subject to the jurisdiction thereof, are citizens of the United States.” U.S.

CONST. amend. XIV, § 1. This language guarantees citizenship only to individuals “subject to

the jurisdiction” of the United States—those who owe political allegiance to the United States of

America. The framers of the Fourteenth Amendment intentionally included the qualifying phrase

“subject to the jurisdiction thereof” to limit the scope of birthright citizenship. This careful

wording reflects the framers’ intention to distinguish between individuals who merely reside in

the United States and those who are fully integrated into the nation’s political and legal

framework.

        A. The Civil Rights Act of 1866 Clarifies the Intent of the Citizenship Clause.

        The Citizenship Clause was drafted to constitutionalize the Civil Rights Act of 1866,

which provided that “all persons born in the United States, and not subject to any foreign

power,” are citizens. Civil Rights Act of 1866, ch. 31, 14 Stat. 27 (1866). The Act explicitly

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excluded individuals who owed allegiance to a foreign power, such as children of diplomats or

tribally affiliated Native Americans. By incorporating this language into the Constitution,

Congress sought to ensure that citizenship would be reserved for those who had a meaningful

and permanent connection to the United States. Congress specifically considered (and outright

rejected) the idea that it could or should make citizens of the U.S.-born children of “persons

temporarily resident in it” who only owe a qualified or minimal allegiance. Congressional Globe,

39th Cong., 1st Sess. 572 (1866) (statement of Sen. Trumbull).

       The framers of the Fourteenth Amendment understood that the Civil Rights Act’s

definition of citizenship was not universally applicable and intentionally preserved these

limitations in the constitutional text. See Swearer, The Citizenship Clause’s Original Meaning

and What It Means Today, HERITAGE FOUNDATION,

https://www.heritage.org/immigration/report/the-citizenship-clauses-original-meaning-and-what-

it-means-today.

       The Civil Rights Act of 1866 was drafted to address the status of newly freed slaves and

ensure that they received the full rights of American citizenship. Id. at ¶ 10. In addition to acting

as an enforcement mechanism for the Thirteenth Amendment, “the act served as Congress’s first

effort to undo Dred Scott.” Id.

       Senator Lyman Trumbull, also a sponsor of the Civil Rights Act of 1866, emphasized that

the phrase in the Fourteenth Amendment legislation “not subject to any foreign power” was

crucial in defining who was entitled to birthright citizenship. This phrase was meant to exclude

individuals who, in contrast to the U.S.-born descendants of African slaves, retained meaningful

political allegiance to another sovereign entity. Trumbull explained that “subject to the

jurisdiction” meant “not owning allegiance to anyone else.” Congressional Globe, 39th Cong.,
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1st Sess., 2893 (May 30, 1866). Senator Jacob Howard who introduced the very language of the

jurisdiction clause of the Fourteenth Amendment on the Senate floor said it should be construed

to mean “a full and complete jurisdiction,” “the same jurisdiction that in extent and quality as

applies to every citizen of the United States now.” Congressional Globe, 39th Cong., 1st Sess.,

2890 (May 30, 1866).

       This limiting approach was consistent with existing legal principles governing nationality

and allegiance. Id. The framers understood that political jurisdiction—not mere territorial

presence—was the determining factor in conferring citizenship. Id at ¶ 6.

       B.    Legislative Debates Demonstrate That Birthright Citizenship Was Not
             Universal.

       The legislative debates surrounding the Fourteenth Amendment confirm that Congress

did not intend to grant citizenship to anyone simply because they were born on American soil.

Lawmakers emphasized the importance of ensuring that citizenship would be conferred only on

individuals who, irrespective of their race, were fully subject to the political jurisdiction of the

United States. For example, Senator Lyman Trumbull, a key architect of the Amendment,

explained that “subject to the jurisdiction thereof” meant “not owing allegiance to anybody else.”

Hans von Spakovsky, supra, at ¶ 5. Similarly, Senator Jacob Howard, a proponent of the

Fourteenth Amendments stated that the clause would exclude “persons born in the United States

who are foreigners, aliens, who belong to the families of ambassadors or foreign ministers.”

Cong. Globe, 39th Cong., 1st Sess. 2890 (1866) (statement of Sen. Howard). Without question,

the authors of the Fourteenth Amendment, believed the grant of citizenship at birth had limits.

The question before this court is not whether limits exist to birthright citizenship, but rather how

far the limits extend.

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       The debates in Congress surrounding the Fourteenth Amendment also reveal a broad

consensus that the jurisdiction requirement was meant to reach transient populations and

individuals whose legal ties to the United States were tenuous. These limits not only included

children of foreign diplomats, members of Native American tribes (who at the time were

considered to be under the jurisdiction of their sovereign tribal governments), but also, children

of foreign nationals who were present in the United States without lawful status. As one scholar

writing two decades after Wong Kim Ark conceded, the Court had not decided the issue of

citizenship for U.S.-born children of “sojourners or transients in this country” and such a grant of

citizenship would be at odds with the conclusions of renowned scholars. Swearer, supra, at ¶ 72

(citing Richard W. Flournoy, Jr., Dual Nationality and Election, 30 Yale L. J. 545, 552 (1921)).

       Congress’s deliberate exclusion of certain groups from birthright citizenship reflected

their understanding of jurisdiction. The framers recognized that “territorial” jurisdiction—the

obligation to obey American laws while present in the United States —was insufficient to confer

citizenship. Instead, they focused on “political” jurisdiction, which requires a complete and

enduring allegiance to the United States. Id. at ¶ 45. This distinction between territorial

jurisdiction and political jurisdiction is critical to understanding the original meaning of the

Citizenship Clause and its application to modern questions of birthright citizenship.

       The principle of allegiance as a prerequisite for citizenship was a well-established

concept in 19th-century legal thought. The framers of the Fourteenth Amendment were well

aware of these legal traditions and crafted the Citizenship Clause to reflect this fundamental

principle. Their intent was to prevent the automatic grant of citizenship to individuals who

lacked the requisite allegiance to the United States.



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          This historical context supports the Executive Order. The framers’ intent was clear:

citizenship should be granted only to individuals who are fully and exclusively subject to the

political jurisdiction of the United States.




    II.      Birthright Citizenship Requires Full Political Jurisdiction.

          A. Territorial vs. Political Jurisdiction

          Proponents of universal birthright citizenship often conflate territorial jurisdiction with

political jurisdiction. Territorial jurisdiction refers to the authority of a government to enforce its

laws within its borders, which applies to all individuals present in the country, including foreign

nationals. Political jurisdiction, on the other hand, requires a deeper connection to the nation - an

allegiance that signifies full membership in the political community. The framers of the

Fourteenth Amendment understood this distinction and intentionally limited the Citizenship

Clause to individuals who were fully subject to the United States’ political jurisdiction. See

Swearer, supra.

          The distinction between territorial and political jurisdiction is deeply rooted in American

legal history. As Senator Lyman Trumbull explained during the debates on the Fourteenth

Amendment, the term “subject to the jurisdiction thereof” was intended to exclude individuals

who owed allegiance to another sovereign power. Cong. Globe, 39th Cong., 1st Sess. 2890

(1866) (statement of Sen. Howard). This principle was reflected in the Civil Rights Act of 1866,

which granted citizenship only to individuals “not subject to any foreign power.” Civil Rights

Act of 1866, ch. 31, 14 Stat. 27 (1866). This legislative history supports the reading of the



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Fourteenth Amendment that mere presence in the United States does not automatically confer

citizenship; rather, full political allegiance is required.

        Children born to foreign nationals who are in the United States temporarily or unlawfully

are not fully subject to the political jurisdiction of the United States. These individuals remain

under the jurisdiction of their parents’ home countries and owe allegiance to foreign powers.

Eventually, they are supposed to depart the United States. As such, they do not meet the

constitutional requirements for birthright citizenship. See von Spakovsky, supra. This

interpretation aligns with the original understanding of the Citizenship Clause and ensures that

citizenship remains a meaningful and exclusive status.

        The Supreme Court has historically recognized the importance of political jurisdiction in

determining citizenship. In Elk v. Wilkins, the Court ruled that Native Americans born within

U.S. territory but owing allegiance to their tribal governments were not automatically granted

citizenship under the Fourteenth Amendment. Elk v. Wilkins, 112 U.S. 94, 122-23 (1884). This

decision reaffirmed that territorial presence alone was insufficient. Full subjection to United

States political jurisdiction was necessary. Id.




        B.   Historical Exclusion from Birthright Citizenship

        The historical exclusions from birthright citizenship illustrate the importance of political

jurisdiction. For example, children of foreign diplomats born in the United States have never

been considered United States citizens because they remain subject to the jurisdiction of their

home countries. This principle is in both domestic law and international legal norms. For

example, under the Vienna Convention on Diplomatic Relations, diplomatic personnel are
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considered agents of their home countries and are not legally subject to the full jurisdiction of

their host nations. Vienna Convention on Diplomatic Relations, Apr. 18, 1961, 23 U.S.T. 3227.

          Similarly, tribally affiliated Native Americans were excluded from birthright citizenship

until the passage of the Indian Citizenship Act in 1924. Before this legislation, Native Americans

were recognized as members of sovereign tribal nations and not fully subject to United States

political jurisdiction. The Supreme Court’s ruling in Elk v. Wilkins confirmed this principle,

holding that Native Americans who maintained tribal ties were not automatically entitled to

citizenship. Elk v. Wilkins, 112 U.S. at 102. The eventual extension of citizenship through

legislative action, rather than constitutional mandate, supports that the Citizenship Clause was

not understood to provide absolute birthright citizenship, but instead had limits.

          The exclusion of children born to unauthorized aliens is consistent with this historical

understanding. Like foreign diplomats and temporary visitors, unauthorized aliens remain subject

to the political jurisdiction of their home countries. Their presence in the United States does not

signify a complete severance of allegiance to their countries of origin. In fact, allegiance was

often by some sovereigns seen as perpetual, meaning that “it could not be discharged without the

consent of the sovereign, regardless of whether a person swore allegiance to another sovereign or

left the kingdom permanently.” Swearer, supra, at ¶ 57. As such, their children do not qualify for

birthright citizenship under the original meaning of the Fourteenth Amendment.

          The historical exclusions from birthright citizenship demonstrate that political

jurisdiction is a prerequisite before birthright citizenship may automatically attach.

   III.      Supreme Court Precedent Does Not Support Universal Birthright Citizenship.

          The Supreme Court has never actually interpreted the Citizenship Clause of the

Fourteenth Amendment in a manner that supports the notion of universal birthright citizenship
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for aliens in the United States without a legal presence. This is commonly misunderstood. Early

Court decisions emphasize the importance of political jurisdiction and allegiance, underscoring

that mere birth on United States soil does not automatically confer citizenship. While some

decisions, particularly United States v. Wong Kim Ark, 169 U.S. 649 (1898), are thought by some

to support a broader interpretation, a careful examination reveals the question of whether or not

to extend citizenship to the children of individuals who are unlawfully present remains decidedly

undecided by the Court. The Executive Order more closely aligns with the original meaning of

the Citizenship Clause and is consistent with Supreme Court precedent that recognizes the

limitations of birthright citizenship.

        A. The Slaughterhouse Cases and Elk v. Wilkins

        The Supreme Court’s earliest interpretations of the Citizenship Clause support that

birthright citizenship has limits and was never intended to be universal. In The Slaughter-House

Cases, 83 U.S. 36 (1872), the Court acknowledged that the phrase “subject to the jurisdiction

thereof” was a limiting qualifier designed to exclude certain individuals from automatic

citizenship. The Court specifically noted that birthright citizenship did not apply to “children of

ministers, consuls, and citizens or subjects of foreign States born within the United States.” Id. at

73.

        This textual limit was further explored in Elk v. Wilkins. At issue was the question of

whether a Native American born within United States territory was a citizen under the

Fourteenth Amendment. Elk v. Wilkins, 112 U.S. at 98 The Court ruled that Native Americans

who maintained allegiance to their tribal nations were not “subject to the jurisdiction” of the

United States in the manner required for birthright citizenship. Id. at 102. The Court held that a

Native American still holding allegiance to the tribe is not automatically a United States citizen.
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Id. at 109. The Court emphasized that mere territorial presence was insufficient. Rather, full

political jurisdiction and allegiance to the United States were necessary prerequisites for

citizenship. Id. at 101–02.

        The reasoning in Elk v. Wilkins makes clear that the Citizenship Clause has limits, even

for those born on American soil. If one retains allegiance to a sovereign other that the United

States, birthright citizenship will not attach.

        B.   Longstanding Misinterpretation of Wong Kim Ark

        The conventional wisdom, accepted over decades, is that Wong Kim Ark supports

absolute birthright citizenship to everyone born in the United States. The holding in this case

does not go as far as the conventional wisdom would have you believe. And no matter how long

a mistaken interpretation of a Supreme Court case has been around, its longevity does not make

it any less mistaken. This case addressed a specific and narrow legal question: whether a child

born in the United States to lawful permanent residents of Chinese descent was entitled to

citizenship under the Fourteenth Amendment. It did not, despite the conventional wisdom over

decades, reach the question whether children born to parents illegally present in the United States

were entitled to citizenship under the Fourteenth Amendment. Put another way, it did not reach

the question of whether those not subject to the political jurisdiction were entitled to birthright

citizenship. The Court ruled in favor of Wong Kim Ark, concluding that the children of lawful

permanent residents who are “domiciled” in the United States are entitled to birthright

citizenship. Id. at 693. The case does not stand for the proposition the plaintiffs wish it did.

        That is no surprise because the Court’s actual decision in Wong Kim Ark is consistent

with the common understanding of international law and English common law, namely that

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citizenship to individuals born within the sovereign’s territory was limited in scope and not

absolute. Id. at 655–56.

       Critically, Wong Kim Ark did not address the question of whether children born to

individuals who are unlawfully present in the United States qualify for birthright citizenship, no

matter how many newspapers or television reporters say otherwise. The parents of Wong Kim

Ark were lawful permanent residents, meaning they had a recognized and legitimate presence

within the country. See Wong Kim Ark, 169 U.S. at 653. The Court’s holding was limited to the

specific facts of the case and should not be read as extending citizenship to the children of

foreign nationals who have no legal status in the United States. Swearer, supra, at ¶ 61-66. A

mistaken interpretation of a 127-year-old case is still a mistaken interpretation.

       C. Historical and Legal Consensus Post-Wong Kim Ark.

       So where did the mistaken interpretation of the Fourteenth Amendment come from? For

decades after Wong Kim Ark, the prevailing legal and academic consensus had it correct, that the

Citizenship Clause applied only to the children of individuals who were lawfully present and

permanently domiciled in the United States. See Swearer, supra, at ¶ 66. The federal government

long recognized that birthright citizenship was not a blanket entitlement for all individuals born

on American soil.

       This view remained largely unchallenged until the latter half of the twentieth century,

when administrative policy, rather than judicial precedent or constitutional amendment,

expanded the practice of granting citizenship to virtually all U.S.-born children. Swearer, supra,

at 66. It is the executive branch that has misinterpreted the scope of the Fourteenth Amendment

and effectuating statutes. The State Department “erroneously interpreted that statute to provide

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passports to anyone born in the United States, regardless of whether their parents are here

illegally and regardless of whether the applicant meets the requirement of being ‘subject to the

jurisdiction of the United States.” See Hans von Spakovsky, supra, at ¶ 12. And thus the

conventional wisdom that anyone born in the United States is a citizen was born. “Accordingly,

birthright citizenship has been implemented by executive fiat, not because it is required by

federal law or the Constitution.” Id.

         Legal scholars and jurists have continued to challenge this mistaken and overbroad

interpretation of Wong Kim Ark, arguing that it represents a departure from the original meaning

of the Fourteenth Amendment. See Hans Von Spakovsky, Supra. The current practice of granting

automatic citizenship to the children of individuals who are unlawfully present in the United

States is inconsistent with both the historical understanding of the Citizenship Clause and the

Supreme Court’s jurisprudence.

   IV.      The Executive Order Preserves the Integrity of American Citizenship

         Executive Order 14160 represents a constitutionally grounded step toward restoring the

original understanding of the Fourteenth Amendment’s Citizenship Clause. By clarifying that

birthright citizenship applies only to children born to American citizens and lawful permanent

residents, the Executive Order more closely aligns with the original intent of the framers and

ensures that citizenship remains a meaningful and exclusive status.

         American citizenship is one of the most significant legal and political statuses that the

nation confers, entailing not only fundamental rights and privileges but also profound

responsibilities and allegiance. The Constitution’s careful limitations on birthright citizenship

reflect an understanding that citizenship should be reserved for those who have a genuine,

enduring, and exclusive connection to the United States that comports with the Constitution.
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Extending citizenship to individuals who lack this meaningful connection undermines the

principles of sovereignty, national identity, and self-governance.

       Unrestricted birthright citizenship has significant consequences for national sovereignty,

particularly in the context of immigration policy. An overly broad and mistaken interpretation of

the Citizenship Clause has created significant intrusions into American sovereignty. For

example, the mistaken interpretation has given rise to “birth tourism,” wherein foreign nationals

deliberately travel to the United States to give birth so their children can obtain citizenship,

despite lacking any genuine connection to the country. See, Swearer, The Political Case for

Confining Birthright Citizenship to Its Original Meaning, HERITAGE FOUNDATION,

https://www.heritage.org/the-constitution/report/the-political-case-confining-birthright-

citizenship-its-original-meaning. Reports indicate that thousands of birth tourists enter the

United States annually for this sole purpose. See Jon Freer, Birthright Citizenship in the United

States: A Global Comparison, CENTER FOR IMMIGRATION STUDIES,

https://cis.org/Report/Birthright-Citizenship-United-States.

                                          CONCLUSION

       The Constitution’s text, structure, and history provide guidance on the scope of birthright

citizenship. The Executive Order is more consistent with a correct understanding of the

Fourteenth Amendment and affiliated jurisprudence. The Fourteenth Amendment’s Citizenship

Clause states that “all persons born or naturalized in the United States, and subject to the

jurisdiction thereof, are citizens of the United States.” U.S. CONST. amend. XIV, § 1. The

phrase “subject to the jurisdiction thereof” must be understood to mean complete political

jurisdiction—that is, exclusive allegiance to the United States. This interpretation is consistent



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with the language of the Civil Rights Act of 1866, which conferred citizenship only upon those

"not subject to any foreign power." 14 Stat. 27.

       The Supreme Court’s early decisions affirm this understanding. In The Slaughter-House

Cases, the Court stated that “subject to the jurisdiction thereof” excludes “children of ministers,

consuls, and citizens or subjects of foreign states born within the United States.” The Slaughter-

House Cases, at 73.

       Beyond its constitutional basis, the Executive Order serves an essential function in

preserving the significance of American citizenship. Citizenship entails not only legal rights but

also civic duties, such as allegiance to the nation, participation in democratic governance, and

adherence to U.S. laws. The automatic granting of citizenship to individuals with no meaningful

connection to the country dilutes these responsibilities and weakens the social contract between

citizens and their government.

       America’s grant of citizenship should align more with other nations such as France,

Germany, and Japan, that do not grant automatic birthright citizenship. See Jon Freer, Birthright

Citizenship in the United States: A Global Comparison. The current practice of conferring

citizenship based solely on birth location is an anomaly that is inconsistent with both historical

and global norms. Birthright citizenship to aliens present illegally in the United States has no

support in the jurisprudence of the United States Supreme Court. The Executive Order corrects

mistakes and reinforces the integrity of American citizenship.

       For these reasons, amicus respectfully requests that this Court deny the Plaintiffs’ request

for preliminary injunction.

                                                    Respectfully submitted,

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                                   Dated: February 5, 2025




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                                        CERTIFICATE OF SERVICE

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       electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).

       Signed under the pains and penalties of perjury.




Dated: February 5, 2025

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